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                   UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF MICHIGAN

  DEANNA RASNICK,
  DEVONNA BARRY and              )
  AMADO MARTINEZ                 )
  Plaintiffs,                    )
                                 )
  v.                             )
                                 )
  CITY OF DETROIT POLICE         )
  OFFICER WILLIAM MORRISON, )
  CITY OF DETROIT POLICE         )         Case No. 20-cv-12069
  OFFICER SAMUEL GALLOWAY, )
  CITY OF DETROIT POLICE         )         Hon. Linda V. Parker
  SGT. MARCUS WAYS               )
  SGT. SAMUEL MACKEY             )
  SGT. DETRICK MOTT              )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #1,           )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #2,           )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #3,           )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #4,           )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #5,           )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #6,           )
  CITY OF DETROIT POLICE         )
  OFFICER JOHN DOE #7,           )
  Defendants.                    )
  _____________________________________________________________/

                 NOTICE OF VOLUNTARY DISMISSAL
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        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Deanna Rasnick

  (“Rasnick”), Devonna Barry and Amado Martinez (“Martinez”), by and

  through their attorneys, Olson PLLC, give notice that they dismiss, without

  prejudice and without costs, all claims against the following enumerated

  Defendants, who each have not filed an answer or motion for summary

  judgment:

        1.    Johnny Fox;

        2.    Nico Hurd;

        3.    Alana Mitchell;

        4.    Roy Harris; and

        5.    Samuel Pionessa.

                                 Respectfully submitted,

                                 Olson PLLC



                                 /s/ Christopher S. Olson_______
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                                 Attorneys for Plaintiffs

  December 17, 2020
  Detroit, Michigan



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